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10
                THE UNITED STATES DISTRICT COURT
11       CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
12
     KATRINA HARRIS, an individual, ) Case No.:
13                                  ) COLLECTIVE ACTION
14                    Plaintiff,    )
             vs.                    ) COMPLAINT FOR DAMAGES
15                                  ) (1) Failure to Pay Minimum Wage, 29
16   68-444 PEREZ, INC. dba         )     U.S.C. § 206;
     SHOWGIRLS, a California        ) (2) Failure to Pay Overtime Wages, 29
17   corporation; ABDUL WAHAB       )     U.S.C. § 207; and
18   SHAWKAT, an individual; DOE    ) (3) Unlawful Taking of Tips, 29 U.S.C.
     MANAGERS 1-3; and DOES 4-      )     § 203
19   100, inclusive,                ) (4) Conversion, Cal. Civ. Code § 3336
20                                  )
                     Defendants.    ) DEMAND FOR JURY TRIAL
21                                  )
22                                  )
                                    )
23                                  )
24                                  )
                                    )
25
                                    )
26                                  )
                                    )
27
                                    )
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 1         Plaintiff KATRINA HARRIS, individually and on behalf of all other
 2   similarly situated, alleges the following upon information and belief, based upon
 3   investigation of counsel, published reports, and personal knowledge:
 4   I.    NATURE OF THE ACTION
 5         1.     Plaintiff KATRINA HARRIS (“Plaintiff”) alleges causes of action
 6   against defendants 68-444 PEREZ, INC. dba SHOWGIRLS, a California
 7   corporation (“Defendant” or “Showgirls”); ABDUL WAHAB SHAWKAT, an
 8   individual; DOE MANAGERS 1-3; and DOES 4-100, inclusive (collectively,
 9   “Defendants”) for damages due to Defendants evading the mandatory minimum
10   wage and overtime provisions of the Fair Labor Standards Act and illegally
11   absconding with Plaintiff’s tips. Additionally, Plaintiff alleges a conversion cause
12   of action on behalf of herself individually against Defendants.
13         2.     These causes of action arise from Defendants’ willful actions while
14   Plaintiff was employed by Defendants from approximately March 1, 2016 until
15   October 18, 2019. During her time being employed by Defendants, Plaintiff was
16   denied minimum wage payments and denied overtime as part of Defendants’
17   scheme to classify Plaintiff and other dancers as “independent contractors.” As
18   the Department of Labor explained in a recent Administrative Interpretation:
19
                Misclassification of employees as independent contractors is
20              found in an increasing number of workplaces in the United
21              States, in part reflecting larger restructuring of business
                organizations. When employers improperly classify
22              employees as independent contractors, the employees may
23              not receive important workplace protections such as the
                minimum wage, overtime compensation, unemployment
24              insurance, and workers’ compensation. Misclassification also
25              results in lower tax revenues for government and an uneven
                playing field for employers who properly classify their
26              workers. Although independent contracting relationships can
27              be advantageous for workers and businesses, some
28
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                   employees may be intentionally misclassified as a means to
 1
                   cut costs and avoid compliance with labor laws.1
 2
 3            As alleged in more detail below, that is exactly what Defendant is doing in
 4   this case.
 5            3.     Plaintiff worked at Defendants’ principal place of business located at
 6   68444 Perez Road, Cathedral City, California 92234.
 7            4.     Showgirls failed to pay Plaintiff minimum wages and overtime
 8   wages for all hours worked in violation of 29 U.S.C. §§ 206 and 207 of the Fair
 9   Labor Standards Act, 29 U.S.C. § 201 et. seq. (“FLSA”).
10            5.     Defendants’ conduct violates the Fair Labor Standards Act (FLSA),
11   which requires non-exempt employees to be compensated for their overtime work
12   at a rate of one and one-half times their regular rate of pay. See 29 U.S.C. §
13   207(a).
14            6.     Furthermore, Defendants’ practice of failing to pay tipped
15   employees pursuant to 29 U.S.C. § 203(m), violates the FLSA's minimum wage
16   provision. See 29 U.S.C. § 206.
17            7.     Plaintiff brings a collective action to recover the unpaid overtime
18   compensation and minimum wage owed to her individually and on behalf of all
19   other similarly situated employees, current and former, of Defendants in
20   California. Members of the Collective Action are hereinafter referred to as
21   “FLSA Class Members.”
22            8.     As a result of Defendants’ violations, Plaintiff and the FLSA Class
23   Members seek to recover double damages for failure to pay minimum wage,
24   overtime liquidated damages, interest, and attorneys’ fees.
25   ///
26
     1
27          See DOL Admin. Interp. No. 2015-1, at
           http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf.
28
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 1   II.   PARTIES
 2         9.     Plaintiff is an individual adult resident of the State of California.
 3   Furthermore, Plaintiff was employed by Defendants and qualifies as an
 4   “employee” of Respondents as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her
 5   consent to this action is attached hereto as Exhibit “1”.
 6         10.    Defendant 68-444 PEREZ, INC. dba SHOWGIRLS (“Defendant” or
 7   “Showgirls”) is a California corporation with its principal place of business at
 8   68444 Perez Road, Cathedral City, California 92234. At all times mentioned
 9   herein, Showgirls was an “employer” or “joint employer” of the FLSA, 29 U.S.C.
10   § 203(d) and (g).
11         11.    Defendant ABDUL WAHAB SHAWKAT is the agent for service of
12   process of Showgirls, and listed their addressed of service, with the California
13   Secretary of State, as 68444 Perez Road, Cathedral City, California 92234.
14         12.    Defendant ABDUL WAHAB SHAWKAT (“Tony Shawkat”) is an
15   individual who resides in Riverside County, California. Tony Shawkat is the
16   owner, controlling shareholder, and exerts day to day management over
17   defendant entities including executing the policies regarding payment to dancers
18   and management of dancers, including Plaintiff. Pursuant to a corporate wide
19   policy dictated and enforced by Defendants, including Tony Shawkat, as well as
20   other Defendants herein, refuse to pay dancers-entertainers minimum wage and
21   earned overtime, by mischaracterizing them as “independent contractors.” Tony
22   Shawkat is frequently present at, and owns, directs, controls and manages the
23   operations of Showgirls. Defendant Tony Shawkat may be served at his residence
24   located at 51 Clancy Lane Estates, Rancho Mirage, California 92270.
25         13.    Defendant Tony Shawkat acted directly or indirectly on behalf of
26   Showgirls, and, at all times mentioned herein was an “employer” or joint
27   employer of Plaintiff within the meaning of the FLSA. He exerted operational
28   and management control over Showgirls, including day to day management. He
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 1   is frequently present at, owns, directs, controls and manages the operations at
 2   Showgirls. He also controlled the nature, pay structure, and employment
 3   relationship of Plaintiff and the FLSA Class Members. Tony Shawkat had at all
 4   times relevant to this lawsuit, the authority to hire and fire employees at
 5   Showgirls, the authority to direct and supervise the work of employees, the
 6   authority to sign on the business’s checking accounts, including payroll accounts,
 7   and the authority to make decisions regarding employee compensation and
 8   capital expenditures. Additionally, he was responsible for the day-to-day affairs
 9   of “Showgirls.” In particular, he was responsible for determining whether
10   “Showgirls” complied with the Fair Labor Standards Act.
11         14.    DOE MANAGERS 1-3 are the managers/owners who control the
12   policies and enforce the policies related to employment at Showgirls.
13         15.    The FLSA Class Members are all current and former exotic dancers
14   who worked at “Showgirls” located at 68444 Perez Road, Cathedral City,
15   California 92234 at any time starting three (3) years before this Complaint was
16   filed, up to the present.
17         16.    At all material times, Defendants have been an enterprise in
18   commerce or in the production of goods for commerce within the meaning of
19   3(r)(1) of the FLSA because they have had employees engaged in commerce and
20   at their club which has travelled in interstate commerce. Moreover, because of
21   Defendants’ interrelated activities, they function in interstate commerce. 29
22   U.S.C. § 203(s)(1).
23         17.    Furthermore, Defendants have had, and continue to have, an annual
24   gross business volume in excess of the statutory standard.
25         18.    At all material times during the three years prior to the filing of this
26   action, Defendants categorized all dancers/entertainers employed at “Showgirls”
27   as “independent contractors” and have failed and refused to pay wages or
28   compensation to such dancers/entertainers. Plaintiff was an individual employee
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 1   who engaged in commerce or in the production of goods for commerce as
 2   required by 29 USC § 206-207.
 3         19.    The true names, capacities or involvement, whether individual,
 4   corporate, governmental or associate, of the Defendants named herein as DOES 4
 5   through 100, inclusive are unknown to Plaintiff who therefore sues said
 6   Defendants by such fictitious names. Plaintiff prays for leave to amend this
 7   Complaint to show their true names and capacities when the same have been
 8   finally determined. Plaintiff is informed and believes, and upon such information
 9   and belief alleges thereon, that each of the Defendants designated herein as DOE
10   is negligently, intentionally, strictly liable or otherwise legally responsible in
11   some manner for the events and happenings herein referred to, and negligently,
12   strictly liable intentionally or otherwise caused injury and damages proximately
13   thereby to Plaintiff, as is hereinafter alleged.
14         20.    Plaintiff is informed and believes that, at all relevant times herein,
15   Defendants engaged in the acts alleged herein and/or condoned, permitted,
16   authorized, and/or ratified the conduct of its employees and agents, and other
17   Defendants and are vicariously or strictly liable for the wrongful conduct of its
18   employees and agents as alleged herein.
19         21.    Plaintiff is informed and believes, and on that basis alleges that, each
20   of the Defendants acted, in all respects pertinent to this action, as the agent or
21   employee of each other, and carried out a joint scheme, business plan, or policy in
22   all respect thereto and, therefore, the acts of each of these Defendants are legally
23   attributable to the other Defendants, and that these Defendants, in all respects,
24   acted as employer and/or joint employers of Plaintiff in that each of them
25   exercised control over her wage payments and control over her duties.
26         22.    Plaintiff is informed and believes, and on that basis alleges that, at all
27   relevant times, each and every Defendant has been the agent, employee,
28   representative, servant, master, employer, owner, agent, joint venture, and alter
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 1   ego of each of the other and each was acting within the course and scope of his or
 2   her ownership, agency, service, joint venture and employment.
 3          23.      At all times mentioned herein, each and every Defendant was the
 4   successor of the other and each assumes the responsibility for the acts and
 5   omissions of all other Defendants.
 6   III.   VENUE AND JURSIDICTION
 7          24.      This Court has jurisdiction over the subject matter of this action
 8   under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.S.C. §
 9   201, et seq.
10          25.      Venue is proper in this District because all or a substantial portion of
11   the events forming the basis of this action occurred in this District. Defendants’
12   club is located in this District and Plaintiff worked in this District. Additionally,
13   both Plaintiff and Defendant Tony Shawkat reside in this District.
14   IV.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
15                                (AGAINST ALL DEFENDANTS)
16          A.       FACTUAL ALLEGATIONS
17          26.      Defendants operate an adult-oriented entertainment facility located
18   at 68444 Perez Road, Cathedral City, California 92234. At all times mentioned
19   herein, Defendants were “employer(s)” or “joint employer(s)” of Plaintiff.
20          27.      At all times during the three (3) years prior to the filing of the instant
21   action, Defendants categorized all dancers/entertainers employed by Defendants
22   as “independent contractors” and have failed and refused to pay wages to such
23   dancers.
24          28.      At all times relevant to this action, Defendants exercised a great deal
25   of operational and management control over the subject club, particularly in the
26   areas of terms and conditions of employment applicable to dancers and
27   entertainers.
28   ///
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 1           29.   Plaintiff began working as a dancer for Defendants on
 2   approximately March 1, 2016 and continued through approximately October 18,
 3   2019.
 4           30.   The primary duty of an entertainer is to dance and entertain
 5   customers, and give them a good experience. Specifically, an entertainer
 6   performs stage and table dances, and entertains customers on an hourly basis.
 7           31.   Stated differently, entertainers dance on stage, perform table dances,
 8   and entertain customers in VIP rooms, all while nude or semi-nude.
 9           32.   Plaintiff worked and performed at the adult-oriented entertainment
10   facility multiple shifts per week. Plaintiff was an integral part of Defendants’
11   business which operated solely as an adult-oriented entertainment facility
12   featuring nude or semi-nude female entertainers.
13           33.   Defendants did not pay entertainers on an hourly basis.
14           34.   Defendants exercised significant control over Plaintiff during her
15   shifts and would demand that Plaintiff stay to 2:00 a.m. if she worked.
16           35.   Defendants routinely confiscated Plaintiff’s automobile keys and
17   would not be able to retrieve them at the conclusion of her shift until Defendants
18   authorized Plaintiff to leave.
19           36.   Defendants set prices for all VIP performances.
20           37.   Defendants set the daily cover charge for customers to enter the
21   facility and had complete control over which customers were allowed in the
22   facility.
23           38.   Defendants controlled music for Plaintiff’s performances.
24           39.   Defendants controlled the means and manner in which Plaintiff
25   could perform.
26           40.   Defendants placed Plaintiff on a schedule.
27           41.   Defendants had the authority to suspend, fine, fire, or otherwise
28   discipline entertainers for non-compliance with their rules regarding dancing.
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 1         42.    Defendants actually suspended, fined, fired, or otherwise disciplined
 2   entertainers for non-compliance with their rules regarding dancing.
 3         43.    Although Defendants allowed entertainers to choose their own
 4   costumes, Defendants reserved the right to decide what a particular entertainer
 5   was allowed to wear on the premises. In order to comply with Showgirls’ dress
 6   and appearance standards, Plaintiff typically expended approximately one (1)
 7   hour of time each shift getting ready for work without being paid any wages for
 8   such time getting ready.
 9         44.    Plaintiff was compensated exclusively through tips from Defendants'
10   customers. That is, Defendants did not pay Plaintiff whatsoever for any hours
11   worked at their establishment.
12         45.    Defendants also required Plaintiff to share her tips with Defendants,
13   other non-service employees who do not customarily receive tips, including the
14   managers, disc jockeys, and the bouncers.
15         46.    Defendants are in violation of the FLSA’s tipped-employee
16   compensation provision, 29 U.S.C. § 203(m), which requires employers to pay a
17   tipped employee a minimum of $2.13 per hour. Defendants also violated 29
18   U.S.C. § 203(m) when they failed to notify the Plaintiff about the tip credit
19   allowance (including the amount to be credited) before the credit was utilized.
20   That is, Defendants’ exotic dancers were never made aware of how the tip credit
21   allowance worked or what the amounts to be credited were. Furthermore,
22   Defendants violated 29 U.S.C. § 203(m) because they did not allow Plaintiff to
23   retain all of her tips and instead required that she divide her tips amongst other
24   employees who do not customarily and regularly receive tips. Because
25   Defendants violated the tip-pool law, Defendants lose the right to take a credit
26   toward minimum wage.
27         47.    Defendants exercised significant control over Plaintiff through
28   written and unwritten policies and procedures. Defendants had visibly posted in
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 1    the employees’ locker room the written employee rules including tip splitting
 2    policies for which performers would be responsible.
 3          48.    Showgirls provided and paid for all advertising and marketing
 4    efforts undertaken on behalf of Showgirls.
 5          49.    Showgirls paid for the building used by Showgirls, including
 6    maintenance of the facility, the sound system, stages, lights, beverage and
 7    inventory used at the facility.
 8          50.    Defendants made all hiring decisions regarding wait staff, security,
 9    entertainers, managerial and all other employees on the premises.
10          51.    Showgirls’ opportunity for profit and loss far exceeded Plaintiff’s
11    opportunity for profit and loss from work at Showgirls.
12          52.    Nude dancing is an integral part of Showgirls’ operations.
13    Showgirls’ advertising and logo prominently displays nude dancing for its
14    customers. Showgirls is well known as a “Gentlemen’s Club.”
15          53.    Showgirls needs entertainers to successfully and profitably operate
16    the Showgirls business model.
17          54.    The position of entertainer requires no managerial skill of others.
18          55.    The position of entertainer requires little other skill or education,
19    formal or otherwise.
20          56.    The only requirements to become an entertainer at Showgirls are
21    “physical attributes” and the ability to dance seductively. Plaintiff did not have a
22    formal interview but instead was glanced over “up and down” and participated in
23    a brief audition by the owner. Before being offered an employment opportunity,
24    the owner required a currently employed entertainer to review the tip and fee
25    splitting policies with Plaintiff. The amount of skill required is more akin to an
26    employment position than that of a typical independent contractor. Defendants do
27    not require prior experience as an entertainer or any formal dance training as a
28    job condition or prerequisite to employment. Defendants do not require the
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 1    submission of an application or a resume as part of the hiring process.
 2          57.    Defendants failed to maintain records of wages, fines, fees, tips and
 3    gratuities and/or service charges paid or received by entertainers.
 4          58.    Plaintiff was not paid an hourly minimum wage or any hourly wage
 5    or salary despite being present at Defendants’ facility and required to work and
 6    entertain its customers at any time during an eight-plus (8+) hour work shift.
 7          59.    Plaintiff was not paid overtime wages at one-and-a-half (1½) times
 8    the regular minimum wage rate for any hours worked despite being present at
 9    Defendants’ facility and required to work and entertain its customers for longer
10    than eight (8) hours per shift.
11          60.    Plaintiff was not paid an hourly minimum wage for the typical one
12    (1) hour of time expended prior to each shift to get ready for work, including
13    applying makeup and hair, and to comply with Defendants’ dress and appearance
14    standards. Plaintiff estimates that she spent approximately three thousand U.S.
15    Dollars ($3,000.00) annually on makeup, hair-related expenses and outfits.
16          61.    Plaintiff was not paid an hourly minimum wage for the time she was
17    required to wait at Showgirls until the premises and the parking lot were cleared
18    of customers.
19          62.    The FLSA Class Members had the same pay structure and were
20    under the same controls as Plaintiff.
21          63.    Plaintiff and FLSA Class Members would work over forty hours
22    during some weeks for Defendants.
23          64.    Defendants have never paid Plaintiff and FLSA Class Members any
24    amount as wages whatsoever, and have instead unlawfully required Plaintiff and
25    FLSA Class Members to pay them for the privilege of working.
26          65.    The only source of monies received by Plaintiff (and the class she
27    seeks to represent) relative to her employment with Defendants came in the form
28    of gratuities received directly from customers, a portion of which she/they were
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 1    required to pay to Defendants.
 2          66.     Although Plaintiff and FLSA Class Members are required to and do
 3    in fact frequently work more than forty (40) hours per workweek, they are not
 4    compensated at the FLSA mandated time-and-a-half rate for hours in excess of
 5    forty (40) per workweek. In fact, they receive no compensation whatsoever from
 6    Defendants and thus, Defendants violate the minimum wage requirement of
 7    FLSA. See 29 U.S.C. § 206.
 8          67.     Defendants' method of paying Plaintiff in violation of the FLSA was
 9    willful and was not based on a good faith and reasonable belief that its conduct
10    complied with the FLSA. Defendants misclassified Plaintiff with the sole intent
11    to avoid paying her in accordance to the FLSA; the fees and fines described
12    herein constitute unlawful “kickbacks” to the employer within the meaning of the
13    FLSA, and Plaintiffs are entitled to restitution of such fines and fees.
14          68.     Plaintiff and FLSA Class Members who worked at “Showgirls”
15    performed precisely the same job duties - dancing and entertaining at
16    “Showgirls.”
17          69.     Plaintiff and FLSA Class Members who worked at “Showgirls”
18    during the applicable limitations period(s) were subject to the same work rules
19    established by the Defendants as identified above.
20          70.     Plaintiff and FLSA Class Members at “Showgirls” were subject to
21    the terms and conditions of employment and the same degree of control,
22    direction, supervision, promotion and investment imposed or performed by
23    Defendants.
24          71.     Plaintiff and FLSA Class Members at “Showgirls” during the
25    applicable limitations period(s) were subject to the same across-the-board,
26    uniformly applied corporate policy mandated by Defendants.
27          72.     Plaintiff and FLSA Class Members at “Showgirls” during the
28    applicable limitations period, were subject to the same fees and fines imposed by
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 1    Defendants.
 2             73.   As a result of Defendants’ across-the-board, standard operating
 3    procedure of mischaracterizing dancers/entertainers as “independent contractors”
 4    and their consequent failure to pay any wages or compensation whatsoever, it is a
 5    certainly that numerous other current and former dancers and entertainers who
 6    worked at “Showgirls” during the applicable limitations period would elect to
 7    participate in this action if provided notice of same.
 8             74.   Upon information and belief, more than 100 dancers and entertainers
 9    have worked at “Showgirls” during the three-five years prior to the filing of this
10    action.
11             75.   Plaintiff is “similarly situated” to the § 216(b) class of persons she
12    seeks to represent, and will adequately represent the interests of the class.
13             76.   Plaintiff has hired Counsel experienced in class actions and in
14    collective actions under 29 U.S.C. § 216(b) who will adequately represent the
15    class.
16             77.   Defendants failed to keep records of tips, gratuities and/or service
17    charges paid to Plaintiff or any other entertainer and failed to maintain and
18    furnish wage statements to Plaintiff.
19             78.   Federal law mandates that an employer is required to keep for three
20    (3) years all payroll records and other records containing, among other things, the
21    following information:
22             a.    The time of day and day of week on which the employees' work
23                   week begins;
24             b.    The regular hourly rate of pay for any workweek in which overtime
25                   compensation is due under section 7(a) of the FLSA;
26             c.    An explanation of the basis of pay by indicating the monetary
27                   amount paid on a per hour, per day, per week, or other basis;
28
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 1          d.     The amount and nature of each payment which, pursuant to
 2                 section 7(e) of the FLSA, is excluded from the "regular rate";
 3          e.     The hours worked each workday and total hours worked each
 4                 workweek;
 5          f.     The total daily or weekly straight time earnings or wages due for
 6                 hours worked during the workday or workweek, exclusive of
 7                 premium overtime compensation;
 8          g.     The total premium for overtime hours. This amount excludes the
 9                 straight-time earnings for overtime hours recorded under this section;
10          h.     The total additions to or deductions from wages paid each pay period
11                 including employee purchase orders or wage assignments;
12          i.     The dates, amounts, and nature of the items which make up the total
13                 additions and deductions;
14          j.     The total wages paid each pay period; and
15          k.     The date of payment and the pay period covered by payment.
16    29 C.F.R. 516.2, 516.5.
17          79.    Defendants have not complied with federal law and have failed to
18    maintain such records with respect to the Plaintiff and FLSA Class Members.
19    Because Defendants' records are inaccurate and/or inadequate, Plaintiff and
20    FLSA Class Members can meet their burden under the FLSA by proving that
21    they, in fact, performed work for which they were improperly compensated, and
22    produce sufficient evidence to show the amount and extent of their work “as a
23    matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens
24    Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put Defendants on
25    notice that she intends to rely on Mt. Clemens Pottery Co. to provide the extent of
26    her unpaid work.
27    ///
28    ///
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 1          B.     INDIVIDUAL LIABILITY UNDER THE FAIR LABOR STANDARDS ACT
 2          80.    In Boucher v. Shaw, the U.S. Court of Appeals for the Ninth Circuit
 3    held that individuals can be liable for FLSA violations under an expansive
 4    interpretation of “employer.” Boucher v. Shaw (9th Cir. 2009) 572 F.3d 1087,
 5    1088. The FLSA defines “employer” as “any person acting directly or indirectly
 6    in the interest of an employer in relation to an employee.” 29 U.S.C. § 203(d).
 7    The Ninth Circuit stated that the definition of “employer” under FLSA is not
 8    limited by the common law concept of “employer” but “is to be given an
 9    expansive interpretation in order to effectuate the FLSA’s broad remedial
10    purposes.”
11          81.    Where an individual exercises “control over the nature and structure
12    of the employment relationship,” or “economic control” over the relationship,
13    that individual is an employer within the meaning of the FLSA, and is subject to
14    liability. Lambert v. Ackerley (9th Cir. 1999) 180 F.3d 997. The Ninth Circuit
15    highlighted factors related to “economic control,” which included ownership
16    interest; operational control of significant aspects of the day-to-day functions; the
17    power to hire and fire employees; determine salaries; and the responsibility to
18    maintain employment records.
19          82.    Defendant Tony Shawkat is individually liable for failing to pay
20    Plaintiff her wages. The actual identities of DOE Managers 1-3 (and perhaps
21    DOES 4 through 100) are unknown at this time.
22           C. INDIVIDUAL CONVERSION ALLEGATIONS
23          83.    On or about the night of October 17, 2019 and the early morning of
24    October 18, 2019, Plaintiff’s last scheduled shift, Plaintiff was forced to turn her
25    automobile keys to Defendants during her shift.
26          84.    Defendants had access to Plaintiff’s vehicle and the contents therein.
27          85.    On or about the night of October 17, 2019 and the early morning of
28    October 18, 2019, Defendants took Plaintiff’s personal property from her vehicle,
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 1    including multiple sets of performance outfits and designer pocketbooks, totaling
 2    approximately two thousand ($2,000.00) U.S. Dollars in value.
 3          86.    Defendants denied Plaintiff access to the security camera footage
 4    that would have been captured where Plaintiff’s vehicle was located.
 5          87.    Plaintiff complained and inquired with Defendant owner Tony
 6    Shawkat on the whereabouts of her personal property and gaining access to the
 7    security camera footage to which he denied any knowledge of the events.
 8          88.    Plaintiff demanded the immediate return of the above-mentioned
 9    property but Defendants have failed and refused, and continue to refuse to return
10    the property to Plaintiff.
11          89.    Plaintiff did not return to work at Showgirls following this incident.
12     V.    COLLECTIVE ACTION ALLEGATIONS
13          90.    Plaintiff hereby incorporates by reference and re-alleges each and
14    every allegation set forth in each and every preceding paragraph of this Demand,
15    as though fully set forth herein.
16          91.    Plaintiff brings this action as an FLSA collective action pursuant to
17    29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
18    Defendants as exotic dancers at any time during the three (3) years prior to the
19    commencement of this action to present.
20          92.    Plaintiff has actual knowledge that FLSA Class Members have also
21    been denied overtime pay for hours worked over forty hours per workweek and
22    have been denied pay at the federally mandated minimum wage rate. That is,
23    Plaintiff worked with other dancers at “Showgirls.” As such, she has first-hand
24    personal knowledge of the same pay violations throughout Defendants’ club.
25    Furthermore, other exotic dancers at Defendants’ club “Showgirls” have shared
26    with her similar pay violation experiences as those described in this Complaint.
27          93.    Other employees similarly situated to the Plaintiff work or have
28    worked at “Showgirls” but were not paid overtime at the rate of one and one-half
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 1    their regular rate when those hours exceeded forty hours per workweek.
 2    Furthermore, these same employees were denied pay at the federally mandated
 3    minimum wage rate.
 4          94.    Although Defendants permitted and/or required the FLSA Class
 5    Members to work in excess of forty hours per workweek, Defendants have
 6    denied them full compensation for their hours worked over forty. Defendants
 7    have also denied them full compensation at the federally mandated minimum
 8    wage rate.
 9          95.    FLSA Class Members perform or have performed the same or
10    similar work as the Plaintiff.
11          96.    FLSA Class Members regularly work or have worked in excess of
12    forty hours during a workweek.
13          97.    FLSA Class Members regularly work or have worked and did not
14    receive minimum wage.
15          98.    FLSA Class Members are not exempt from receiving overtime
16    and/or pay at the federally mandated minimum wage rate under the FLSA.
17          99.    As such, FLSA Class Members are similar to Plaintiff in terms of
18    job duties, pay structure, misclassification as independent contractors and/or the
19    denial of overtime and minimum wage.
20          100. Defendants’ failure to pay overtime compensation and hours worked
21    at the minimum wage rate required by the FLSA results from generally
22    applicable policies or practices, and does not depend on the personal
23    circumstances of the FLSA Class Members.
24          101. The experiences of the Plaintiff, with respect to her pay, are typical
25    of the experiences of the FLSA Class Members.
26          102. The specific job titles or precise job responsibilities of each FLSA
27    Class Member does not prevent collective treatment.
28    ///
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 1           103. All FLSA Class Members, irrespective of their particular job
 2    requirements, are entitled to overtime compensation for hours worked in excess
 3    of forty (40) during a workweek.
 4           104. All FLSA Class Members, irrespective of their particular job
 5    requirements, are entitled to compensation for hours worked at the federally
 6    mandated minimum wage rate.
 7           105. Although the exact number of damages may vary among FLSA
 8    Class Members, the damages for the FLSA Class Members can be easily
 9    calculated by a simple formula. The claims of all FLSA Class Members arise
10    from a common nucleus of facts. Liability is based on a systematic course of
11    wrongful conduct by the Defendant that caused harm to all FLSA Class
12    Members.
13           106. As such, Plaintiff brings her FLSA claims as a collective action on
14    behalf of the following class:
15             All of Defendants current and former exotic dancers who
16             worked at the Showgirls located in Cathedral City, California
17             at any time starting three years before this Complaint was
18             filed.
19     VI.   CAUSES OF ACTION
20                              FIRST CAUSE OF ACTION
21        FAILURE TO PAY MINIMUM WAGE PURSUANT TO FLSA, 29 U.S.C. § 206
22                  (BY KATRINA HARRIS AND ON BEHALF OF THE CLASS
23                               AGAINST ALL DEFENDANTS)
24           107. Plaintiff hereby incorporates by reference and re-alleges each and
25    every allegation set forth in each and every preceding paragraph of this
26    Complaint, as though fully set forth herein.
27           108. Defendants are engaged in “commerce” and/or in the production of
28    “goods” for “commerce” as those terms are defined in the FLSA.
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 1           109. Defendants operate an enterprise engaged in commerce within the
 2    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 3    in commerce, and because its annual gross volume of sales made is more than
 4    $500,000.
 5           110. Defendants failed to pay Plaintiff the minimum wage in violation of
 6    29 U.S.C. § 206.
 7           111. Based upon the conduct alleged herein, Defendants knowingly,
 8    intentionally and willfully violated the FLSA by not paying Plaintiff the
 9    minimum wage under the FLSA.
10           112. Throughout the relevant period of this lawsuit, there is no evidence
11    that Defendants’ conduct that gave rise to this action was in good faith and based
12    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
13    after it learned that its misclassification scheme and compensation policies were
14    illegal.
15           113. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
16    from Defendants, minimum wage compensation and an equal amount in the
17    form of liquidated damages, as well as reasonable attorneys’ fees and costs of the
18    action, including interest, pursuant to 29 U.S.C. § 216(b).
19                             SECOND CAUSE OF ACTION
20       FAILURE TO PAY OVERTIME WAGES PURSUANT TO FLSA, 29 U.S.C. § 207
21                  (BY KATRINA HARRIS AND ON BEHALF OF THE CLASS
22                               AGAINST ALL DEFENDANTS)
23           114. Plaintiff hereby incorporates by reference and re-alleges each and
24    every allegation set forth in each and every preceding paragraph of this Demand,
25    as though fully set forth herein.
26           115. Each Defendant is an “employer” or “joint employer” of Plaintiff
27    within the meaning of the FLSA, 29 U.S.C. § 203(d).
28
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 1          116. Defendants are engaged in “commerce” and/or in the production of
 2    “goods” for “commerce” as those terms are defined in the FLSA.
 3          117. Defendants operate an enterprise engaged in commerce within the
 4    meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 5    in commerce, and because its annual gross volume of sales made is more than five
 6    hundred thousand U.S. Dollars ($500,000.00).
 7          118. Defendants failed to pay Plaintiff the applicable overtime wage for
 8    each hour in excess of forty (40) during each workweek in which she worked in
 9    violation of 29 U.S.C. § 207.
10          119. Based upon the conduct alleged herein, Defendants knowingly,
11    intentionally and willfully violated the FLSA by not paying Plaintiff the overtime
12    wage required under the FLSA.
13          120. Throughout the relevant period of this lawsuit, there is no evidence
14    that Defendants’ conduct that gave rise to this action was in good faith and based
15    on reasonable grounds. In fact, Defendants continued to violate the FLSA long
16    after it learned that its misclassification scheme and compensation policies were
17    unlawful.
18          121. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
19    from Defendants, overtime wage compensation and an equal amount in the form
20    of liquidated damages, as well as reasonable attorneys’ fees and costs of the
21    action, including interest, pursuant to 29 U.S.C. § 216(b).
22                             THIRD CAUSE OF ACTION
23             UNLAWFUL TAKING OF TIPS IN VIOLATION OF 29 U.S.C. § 203
24                  (BY KATRINA HARRIS AND ON BEHALF OF THE CLASS
25                               AGAINST ALL DEFENDANTS)
26          122. Plaintiff hereby incorporates by reference and re-alleges each and
27    every allegation set forth in each and every preceding paragraph of this Demand,
28    as though fully set forth herein.
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 1          123. Plaintiff customarily and regularly received more than thirty U.S.
 2    Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in
 3    the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
 4          124. At all relevant times, each Defendant is an “employer” or joint
 5    employer of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
 6          125. Defendants are engaged in “commerce” and/or in the production of
 7    “goods” for “commerce” as those terms are defined in the FLSA.
 8          126. Defendants operate an enterprise engaged in commerce within the
 9    meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
10    in commerce, and because its annual gross volume of sales made is more than five
11    hundred thousand U.S. Dollars ($500,000).
12          127. Under TIPA:
13
            [a]n employer may not keep tips received by its employees for any
14          purpose including allowing managers or supervisors to keep any
15          portion of employees’ tips, regardless of whether or not it takes a tip
            credit.
16
17          29 U.S.C. § 203.

18
            128. Defendants kept a portion of tips paid to Plaintiff by Defendants’
19
      customers in the form of fees, fines, mandatory charges and other payments to
20
      management, house moms, DJ and floor men in violation of TIPA.
21
            129. Defendants required Plaintiff to participate in an illegal tip pool,
22
      which included employees who do not customarily and regularly receive tips, and
23
      do not have more than a de minimis, if any, interaction with customer leaving the
24
      tips (such as the Club DJ, security, and management). See U.S. Dep’t of Labor,
25
      Wage and Hour Division, “Fact Sheet # 15: Tipped employees under the Fair
26
      Labor Standards Act (FLSA).”
27
      ///
28
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1          130. The contribution the Defendants required Plaintiff to make after each
 2    shift was arbitrary and capricious and distribution was not agreed to by Plaintiff
 3    other dancers; but rather, was imposed upon Plaintiff and other dancers.
 4          131. By requiring Plaintiff to pool her tips with club management,
 5    including the individual Defendants named herein, Defendants “retained” a
 6    portion of the tips received by Plaintiff in violation of the FLSA.
 7          132. Defendants did not make any effort, let alone a “good faith” effort, to
 8    comply with the FLSA as it relates to compensation owed to Plaintiff.
 9          133. At the time of their illegal conduct, Defendants knew or showed
10    reckless disregard that the tip-pool which they required Plaintiff to contribute
11    included non-tipped employees and, therefore, was statutorily illegal. In spite of
12    this, Defendants willfully failed and refused to pay Plaintiff the proper amount of
13    the tips to which she was entitled.
14          134. Defendants’ willful failure and refusal to pay Plaintiff the tips she
15    earned violates the FLSA.
16          135. Defendants kept a portion of tips paid to Plaintiff by Defendants’
17    customers in the form of fees, fines, mandatory charges and other payments to
18    management, house moms, DJs, and door men in violation of TIPA.
19          136. As a result of the acts and omissions of the Defendants as alleged
20    herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to
21    damages in the form of all misappropriated tips, plus interest; as liquated
22    damages, an amount equal to all misappropriated tips, mandatory attorneys’ fees,
23    costs, and expenses.
24    ///
25    ///
26    ///
27    ///
28    ///
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1                             FOURTH CAUSE OF ACTION
 2                          CONVERSION, CAL. CIV. CODE § 3336
 3            (BY KATRINA HARRIS INDIVIDUALLY AGAINST ALL DEFENDANTS)
 4           137. Plaintiff hereby incorporates by reference and re-alleges each and
 5    every allegation set forth in each and every preceding paragraph of this Demand,
 6    as though fully set forth herein.
 7           138. At all times herein mentioned, and in particular on or about October
 8    17, 2019 to October 18, 2019, Plaintiff was and still is entitled to the possession
 9    of the following personal property, namely multiple sets of performance outfits
10    and designer pocketbooks.
11           139. On or about October 17, 2019 to October 18, 2019, the above-
12    mentioned property had a value of approximately two thousand ($2,000.00) U.S.
13    Dollars.
14           140. On or about October 17, 2019 to October 18, 2019, Defendants took
15    the above-mentioned property from Plaintiff’s possession and converted the same
16    to their own use.
17           141. On October 18, 2019, Plaintiff demanded the return of the above-
18    mentioned property and Defendant failed and refused to return the property to
19    Plaintiff.
20           142. As a proximate results of Defendants’ conversion, Plaintiff suffered
21    damages which are the natural, reasonable, and proximate results of the
22    conversation in the sum of two thousand ($2,000.00) U.S. Dollars.
23           143. The aforementioned acts of Defendants were willful, wanton,
24    malicious, and oppressive, and were undertaken with the intent to defraud, and
25    justify the awarding of exemplary and punitive damages to be proved at trial.
26    ///
27    ///
28    ///
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 1
 2                               PRAYER FOR RELIEF
 3          WHEREFORE, Plaintiff requests of this Court the following relief:
 4             1.    For compensatory damages according to proof at trial;
 5             2.    For special damages according to proof at trial;
 6             3.    For restitution of unpaid monies;
 7             4.    For attorneys’ fees;
 8             5.    For costs of suit incurred herein;
 9             6.    For statutory penalties;
10             7.    For civil penalties;
11             8.    For pre-judgment interest;
12             9.    For post-judgement interest;
13             10.   For general damages in an amount to be proven at trial;
14             11.   For declaratory relief;
15             12.   For injunctive relief;
16             13.   Exemplary and punitive damages; and
17             14.   For such other and further relief as the tribunal may deem just and
18                   proper.
19
20    Dated: November 13, 2019                          KRISTENSEN WEISBERG, LLP
21
                                                        /s/ John P. Kristensen
22                                                      John P. Kristensen
                                                        Jesenia A. Martinez
23
                                                        Jacob J. Ventura
24                                                      Attorneys for Plaintiff
25
26
27
28
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 1                             DEMAND FOR JURY TRIAL
 2          Plaintiff hereby demands a trial by jury for all such triable claims.
 3
      Dated: November 13, 2019                         KRISTENSEN WEISBERG, LLP
 4
 5                                                     /s/ John P. Kristensen
                                                       John P. Kristensen
 6                                                     Jesenia A. Martinez
 7                                                     Jacob J. Ventura
                                                       Attorneys for Plaintiff
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